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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________x
LESLIE JACKSON,                              :
                              Plaintiff      :
            -against-                        :
                                             :
                                             :
                                             : No. 15-CV-4167(ADS)(ARL)
LOWE’S COMPANIES, INC. and                   :
DENNIS SHANLEY,                              :
                                             :
                              Defendant(s), :
____________________________________________x

  Motion by the Bromberg Law Office, P.C. and Fink & Katz, PLLC, Attorneys for
           Plaintiff, to Withdraw as Counsel for Plaintiff Leslie Jackson

      The Bromberg Law Office, P.C. and Fink & Katz, PLLC (collectively, “the

Law Offices”), by and through Brian L. Bromberg, Jonathan R. Miller, and

Jonathan A. Fink, for the reasons set forth in the accompanying Declaration of

Jonathan A. Fink, dated October 11, 2016, move to withdraw as counsel of record

for Plaintiff Leslie Jackson under Local Civil Rule 1.4. The grounds for this motion

are as follows:

      1.     Irreconcilable differences have arisen between the Law Offices and

Plaintiff that make it impossible for the Law Offices to continue to represent his

interests in this matter.

      2. The Law Offices request that the Court:

             a. Allow the Law Offices to serve Plaintiff with these papers by email

                  at realthingmgt@yahoo.com, because Plaintiff advises that he has




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                sold his New York residence and moved to the Dominican Republic,

                but has refused to give any mailing address;

             b. Grant Plaintiff 30 days to obtain new counsel; and

             c. Stay these proceedings during the 30-day period.

      3.     The Law Offices certify that this motion is not being filed for purposes

of delay.

      4.     The undersigned has not conferred with Defendants’ counsel, but the

circumstances are such that the Law Offices cannot proceed as Plaintiff’s counsel.

      5.     Because the Law Offices have no way of communicating with Plaintiff

other than by email and by cell phone, the Law Offices are sending these papers to

Plaintiff by email and by sending Plaintiff a text advising him to check his email for

these important papers.

      6.     Because of the nature of this application – a request to withdraw from

representing a client who has moved out of the country and broken off all

communications – presents no novel issues of law, the undersigned asks that the

requirement of submitting a separate memorandum in support be waived.

Dated:       New York, New York
             October 11, 2016

                                       /s/ Jonathan A. Fink
                                       Jonathan A. Fink
                                       One of Plaintiff’s Attorneys

      Attorneys for Plaintiff


      Jonathan A. Fink
      Fink & Katz PLLC



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